Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 1 of 15




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 Amanda Ramirez, individually and on behalf
 of all others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

 Kraft Heinz Foods Company,
                                                                Jury Trial Demanded
                                  Defendant

        Plaintiff alleges upon information and belief, except for allegations about Plaintiff, which

 are based on personal knowledge:

                                    FACTUAL ALLEGATIONS


        1.    Kraft Heinz Foods Company (“Defendant”) manufactures, labels, markets and sells

 microwavable single serve cups of mac and cheese represented as “READY IN 3½ MINUTES”

 under the Velveeta brand (“Product”).
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 2 of 15




        2.    The statement of “ready in 3½ minutes” is false and misleading because the Product

 takes longer than 3-and-a-half minutes to prepare for consumption.

        3.    According to the directions on the back of the packaging, there are four steps in

 preparing the Product.




                                                2
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 3 of 15




        4.    First, consumers must “REMOVE lid and Cheese Sauce Pouch.

        5.    Next, they must “ADD water to fill line in cup. STIR.”

        6.    Third, “MICROWAVE, uncovered, on HIGH 3-1/2 min. DO NOT DRAIN.”

        7.    Finally, they should “STIR IN contents of cheese sauce pouch.”

        8.    Defendant then notes that “CHEESE SAUCE WILL THICKEN UPON

 STANDING.”

        9.    Consumers seeing “ready in 3½ minutes” will believe it represents the total amount

 of time it takes to prepare the Product, meaning from the moment it is unopened to the moment it

 is ready for consumption.

        10.   However, the directions outlined above show that 3-and-a-half minutes is just the

 length of time to complete one of several steps.

        11.   The label does not state the Product takes “3½ minutes to cook in the microwave,”

 which would have been true.

        12.   To provide consumers with a Product that is actually “ready in 3½ minutes,” the


                                                    3
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 4 of 15




 Product would need to be cooked in the microwave for less than 3-and-a-half minutes, so that all

 the preparation steps could be completed in the 3-and-a-half minutes timeframe.

        13.      Consumers are misled to expect the Product will be ready for consumption in a

 shorter amount of time than it really takes to prepare.

        14.      Defendant sold more of the Product and at higher prices than it would have in the

 absence of this misconduct, resulting in additional profits at the expense of consumers.

        15.      As a result of the false and misleading representations, the Product is sold at a

 premium price, approximately no less than $10.99 for eight 2.39 oz cups, excluding tax and sales,

 higher than similar products, represented in a non-misleading way, and higher than it would be

 sold for absent the misleading representations and omissions.

                                         JURISDICTION AND VENUE

        16.      Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

 § 1332(d)(2).

        17.      The aggregate amount in controversy exceeds $5 million, including statutory and

 punitive damages, exclusive of interest and costs.

        18.      Plaintiff is a citizen of Florida.

        19.      Defendant is a Pennsylvania limited liability company with a principal place of

 business in Pittsburgh, Allegheny County, Pennsylvania.

        20.      The class of persons Plaintiff seeks to represent includes persons who are citizens of

 different states from which Defendant is a citizen.

        21.      The members of the class Plaintiff seeks to represent are more than 100, because the

 Product has been sold with the representations described here from thousands of stores in the States

 covered by Plaintiff’s proposed classes.




                                                      4
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 5 of 15




        22.   The Product is available to consumers from grocery stores, dollar stores, warehouse

 club stores, drug stores, convenience stores, big box stores, and online.

        23.   Venue is in this District with assignment to the Miami Division because Plaintiff

 resides in Miami-Dade County, which is where a substantial part of the events or omissions giving

 rise to the claims occurred, including her purchase, consumption, exposure to and reliance on the

 representations, and awareness they were misleading.

                                             PARTIES

        24.   Plaintiff Amanda Ramirez is a citizen of Hialeah, Florida, Miami-Dade County.

        25.   Defendant Kraft Heinz Foods Company is a Pennsylvania limited liability company

 with a principal place of business in Pittsburgh, Pennsylvania, Allegheny County.

        26.   Plaintiff is like many consumers who seek to stretch their money as far as possible

 when buying groceries.

        27.   Plaintiff looks to bold statements of value when quickly selecting groceries.

        28.   Plaintiff purchased the Product at locations including Publix, 3339 W 80th St,

 Hialeah, FL 33018, between October and November 2022, among other times.

        29.   Plaintiff believed and expected that the Product would take 3-and-a-half minutes

 total to prepare and be ready for consumption.

        30.   Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

 packaging, and/or images on the Product, on the labeling, statements, omissions, claims,

 statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

 media, which accompanied the Product and separately, through in-store, digital, audio, and print

 marketing.

        31.   Plaintiff bought the Product at or exceeding the above-referenced price.




                                                  5
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 6 of 15




        32.     Plaintiff chose between Defendant’s Product and products represented similarly, but

 which did not misrepresent their attributes, features, and/or components.

        33.     Plaintiff paid more for the Product than she would have paid and would not have

 purchased it or paid less had she known the truth.

        34.     Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

 with the assurance its representations are consistent with its abilities, attributes, and/or

 composition.

        35.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

 but other similar products that claim they are ready in a specific amount of time, because she is

 unsure whether those representations are truthful.

                                       CLASS ALLEGATIONS

        36.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                         Florida Class: All persons in the State of Florida
                         who purchased the Product during the statutes of
                         limitations for each cause of action alleged; and

                         Consumer Fraud Multi-State Class: All persons in
                         the States of Alabama, Georgia, North Carolina,
                         South Carolina, Utah, New Mexico, Alaska, Iowa,
                         Tennessee, and Virginia who purchased the Product
                         during the statutes of limitations for each cause of
                         action alleged.

        37.     Common questions of issue, law, and fact predominate and include whether

 Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

 to damages.

        38.     Plaintiff’s claims and basis for relief are typical to other members because all were

 subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

        39.     Plaintiff is an adequate representative because her interests do not conflict with other



                                                    6
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 7 of 15




 members.

        40.    No individual inquiry is necessary since the focus is only on Defendant’s practices

 and the class is definable and ascertainable.

        41.    Individual actions would risk inconsistent results, be repetitive and are impractical

 to justify, as the claims are modest relative to the scope of the harm.

        42.    Plaintiff’s counsel is competent and experienced in complex class action litigation

 and intends to protect class members’ interests adequately and fairly.

        43.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                                       CAUSES OF ACTION

                                              COUNT I

                       Florida Deceptive and Unfair Trade Practices Act,
                                  Fla. Stat. § 501.201, et seq.

        44.    Plaintiff incorporates by reference preceding paragraphs 1-15.

        45.    Plaintiff brings this claim on her own behalf and on behalf of each member of the

 Florida Class.

        46.    Defendant violated and continues to violate Florida’s Deceptive and Unfair Trade

 Practices Act by engaging in unfair methods of competition, unconscionable acts and practices,

 and unfair and deceptive acts and practices in the conduct of its business.

        47.    Defendant misrepresented the Product through statements, omissions, ambiguities,

 half-truths and/or actions, that it would take 3-and-a-half minutes total to prepare and be ready for

 consumption.

        48.    The material misstatements and omissions alleged herein constitute deceptive and

 unfair trade practices, in that they were intended to and did deceive Plaintiff and the general public

 into believing that the Product would take 3-and-a-half minutes total to prepare and be ready for


                                                   7
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 8 of 15




 consumption.

          49.   Plaintiff and class members relied upon these representations in deciding to purchase

 the Product.

          50.   Plaintiff’s reliance was reasonable because of Defendant’s reputation as a trusted and

 reliable company, known for its high-quality products, honestly marketed to consumers.

          51.   Plaintiff and class members would not have purchased the Product or paid as much

 if the true facts had been known, suffering damages.

          52.   Defendant’s conduct offends established public policy and is immoral, unethical,

 oppressive, and unscrupulous to consumers.

          53.   Plaintiff and class members are entitled to damages in an amount to be proven at

 trial.

          54.   Defendant should also be ordered to cease its deceptive advertising and should be

 made to engage in a corrective advertising campaign to inform consumers that the Product takes

 longer than 3-and-a-half minutes total to prepare and be ready for consumption.

                                              COUNT II

                               Violation of State Consumer Fraud Acts
                                (Consumer Fraud Multi-State Class)

          55.   Plaintiff incorporates by reference preceding paragraphs 1-15.

          56.   The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

 similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

 deceptive business practices in the conduct of commerce.

          57.   The members of the Consumer Fraud Multi-State Class reserve their rights to assert

 their consumer protection claims under the Consumer Fraud Acts of the States they represent

 and/or the consumer protection statute invoked by Plaintiff.



                                                   8
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 9 of 15




                                             COUNT III

                                     False and Misleading Advertising,
                                             Fla. Stat. § 817.41

          58.   Plaintiff incorporates by reference preceding paragraphs 1-15.

          59.   Plaintiff brings this claim on her own behalf and on behalf of each member of the

 Florida Class.

          60.   Defendant made misrepresentations of material fact regarding the total length of time

 it would take to prepare the Product for consumption, through its advertisements and marketing,

 through various forms of media, on the packaging, in print circulars, direct mail, product

 descriptions, and targeted digital advertising.

          61.   Defendant’s false and deceptive representations and omissions are material in that

 they are likely to influence consumer purchasing decisions.

          62.   Defendant knew that these statements were false.

          63.   Defendant intended for consumers to rely on its false statements for the purpose of

 selling the Product.

          64.   Plaintiff and class members did in fact rely upon these statements.

          65.   Reliance was reasonable and justified because of Defendant’s reputation as a trusted

 and reliable company, known for its high-quality products, honestly marketed to consumers.

          66.   As a result of Defendant’s misrepresentations, Plaintiff and class members suffered

 damages in the amount paid for the Product.

          67.   Plaintiff and class members are entitled to damages and injunctive relief as set forth

 above.

                                             COUNT IV




                                                   9
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 10 of 15




                                   Breaches of Express Warranty,
               Implied Warranty of Merchantability/Fitness for a Particular Purpose and
                       Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

         68.    Plaintiff incorporates by reference preceding paragraphs 1-15.

         69.

         70.    The Product was manufactured, identified, marketed, and sold by Defendant and

  expressly and impliedly warranted to Plaintiff that the Product would take 3-and-a-half minutes

  total to prepare and be ready for consumption.

         71.    Defendant directly marketed the Product to Plaintiff through its advertisements and

  marketing, through various forms of media, on the packaging, in print circulars, direct mail,

  product descriptions distributed to resellers, and targeted digital advertising.

         72.    Defendant knew the product attributes that potential customers like Plaintiff were

  seeking, and developed its marketing and labeling to directly meet those needs and desires.

         73.    Defendant’s representations about the Product were conveyed in writing and

  promised it would be defect-free, and Plaintiff understood this meant that that it would take 3-and-

  a-half minutes total to prepare and be ready for consumption.

         74.    Defendant’s representations affirmed and promised that that the Product would take

  3-and-a-half minutes total to prepare and be ready for consumption.

         75.    Defendant described the Product so Plaintiff believed it would take 3-and-a-half

  minutes total to prepare and be ready for consumption, which became part of the basis of the

  bargain that it would conform to its affirmations and promises.

         76.    Defendant had a duty to disclose and/or provide non-deceptive descriptions and

  marketing of the Product.

         77.    This duty is based on Defendant’s outsized role in the market for this type of Product,

  a trusted company, known for its high-quality products, honestly marketed to consumers.


                                                   10
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 11 of 15




         78.   Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

         79.   Plaintiff provides or will provide notice to Defendant, its agents, representatives,

  retailers, and their employees that it breached the Product’s express and implied warranties.

         80.   Defendant received notice and should have been aware of these issues due to

  complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

  and by consumers through online forums.

         81.   The Product did not conform to its affirmations of fact and promises due to

  Defendant’s actions.

         82.   The Product was not merchantable because it was not fit to pass in the trade as

  advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

  promises or affirmations of fact made on the packaging, container or label, because it was marketed

  as if it would take 3-and-a-half minutes total to prepare and be ready for consumption.

         83.   The Product was not merchantable because Defendant had reason to know the

  particular purpose for which it was bought by Plaintiff, because she expected it would take 3-and-

  a-half minutes total to prepare and be ready for consumption, and she relied on Defendant’s skill

  and judgment to select or furnish such a suitable product.

                                             COUNT V

                                    Negligent Misrepresentation

         84.   Plaintiff incorporates by reference preceding paragraphs 1-15.

         85.   Defendant had a duty to truthfully represent the Product, which it breached.

         86.   This duty was non-delegable, based on Defendant’s position, holding itself out as

  having special knowledge and experience in this area, a trusted company, known for its high-

  quality products, honestly marketed to consumers.




                                                  11
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 12 of 15




          87.      Defendant’s representations and omissions regarding the Product went beyond the

  specific representations on the packaging, as they incorporated the extra-labeling promises and

  commitments to quality, transparency and putting customers first, that it has been known for.

          88.      These promises were outside of the standard representations that other companies

  may make in a standard arms-length, retail context.

          89.      The representations took advantage of consumers’ cognitive shortcuts made at the

  point-of-sale and their trust in Defendant.

          90.      Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

  omissions, which served to induce and did induce, her purchase of the Product.

                                                COUNT VI

                                                   Fraud
                                     (Fed. R. Civ. P. 9(b) Allegations)

          91.      Plaintiff incorporates by reference preceding paragraphs 1-15.

          92.      Defendant misrepresented and/or omitted the total length of time it would take to

  prepare the Product for consumption.

          93.      The records Defendant is required to maintain, and/or the information

  inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

  the falsity and deception, through statements and omissions.

          94.      Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud

  or mistake, a party must state with particularity the circumstances constituting fraud or mistake.”

          95.      To the extent necessary, as detailed in the paragraphs above and below, Plaintiff has

  satisfied the requirements of Rule 9(b) by establishing the following elements with sufficient

  particularity.

          96.      WHO: Defendant, Kraft Heinz Foods Company, made material misrepresentations



                                                     12
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 13 of 15




  and/or omissions of fact in its labeling and marketing of the Product by representing that the

  Product would take 3-and-a-half minutes total to prepare and be ready for consumption.

         97.    WHAT: Defendant’s conduct here was and continues to be fraudulent because it has

  the effect of deceiving consumers into believing that the Product takes 3-and-a-half minutes total

  to prepare and be ready for consumption.

         98.    Defendant knew or should have known this information is material to all reasonable

  consumers and impacts consumers’ purchasing decisions.

         99.    Yet, Defendant has and continues to represent that the Product takes 3-and-a-half

  minutes total to prepare and be ready for consumption, when it does not.

         100. WHEN: Defendant made material misrepresentations and/or omissions detailed

  herein, including that the Product would take 3-and-a-half minutes total to prepare and be ready

  for consumption, continuously throughout the applicable Class period(s).

         101. WHERE: Defendant’s material misrepresentations and omissions, that the Product

  takes 3-and-a-half minutes total to prepare and be ready for consumption, were located on the front

  of the Product’s packaging, through the statement “ready in 3½ minutes,” which instantly catches

  the eye of all reasonable consumers, including Plaintiff, at the point of sale in every transaction.

         102. The Product is sold in grocery stores, dollar stores, warehouse club stores, drug

  stores, convenience stores, big box stores, and online.

         103. HOW: Defendant made written and visual misrepresentations right on the front label

  of the Product, that it would take 3-and-a-half minutes total to prepare and be ready for

  consumption even though the Product takes longer than 3-and-a-half minutes total to prepare and

  be ready for consumption.

         104. As such, Defendant’s representations are false and misleading.




                                                   13
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 14 of 15




         105. And as discussed in detail throughout this Complaint, Plaintiff and class members

  read and relied on Defendant’s representations and omissions before purchasing the Product.

         106. WHY: Defendant misrepresented that the Product takes 3-and-a-half minutes total to

  prepare and be ready for consumption, for the express purpose of inducing Plaintiff and class

  members to purchase the Product at a substantial price premium.

         107. As such, Defendant profited by selling the misrepresented Product to at least

  thousands of consumers throughout the nation.

                                              COUNT VIII

                                          Unjust Enrichment

         108. Plaintiff incorporates by reference preceding paragraphs 1-15.

         109. Defendant obtained benefits and monies because the Product was not as represented

  and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

  restitution and disgorgement of inequitably obtained profits.

                          JURY DEMAND AND PRAYER FOR RELIEF

  Plaintiff demands a jury trial on all issues.

      WHEREFORE, Plaintiff prays for judgment:

     1. Declaring this a proper class action, certifying Plaintiff as representative and the

         undersigned as counsel for the class;

     2. Injunctive relief to remove, correct and/or refrain from the challenged practices and

         representations, and restitution and disgorgement for members of the class pursuant to the

         applicable laws;

     3. Awarding monetary, statutory and/or punitive damages;

     4. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

         experts; and


                                                  14
Case 1:22-cv-23782-BB Document 1 Entered on FLSD Docket 11/18/2022 Page 15 of 15




     5. Other and further relief as the Court deems just and proper.

  Dated: November 18, 2022
                                                     Respectfully submitted,

                                                     /s/William Wright
                                                     The Wright Law Office, P.A.
                                                     515 N Flagler Dr Ste P-300
                                                     West Palm Beach FL 33401
                                                     (561) 514-0904
                                                     willwright@wrightlawoffice.com

                                                     Sheehan & Associates, P.C.
                                                     Spencer Sheehan (Pro Hac Vice forthcoming)
                                                     60 Cuttermill Rd Ste 412
                                                     Great Neck NY 11021
                                                     (516) 268-7080
                                                     spencer@spencersheehan.com




                                                15
